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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                    NO. 4:14CR00010 JLH

HECTOR DELGADO, WILMER
GEOVANI FUENTES-RAMOS,
VICTOR RUIZ-FLORES,
ROBERT YOUNG, JR., ROOSEVELT
LAMONT MARTIN, HAROLD
BLAKELY ALLEN, JR., MONTRELL
DESHUN YOUNG, IVORY LAMONT
JOHNSON, TYRONE DEMOND
WASHINGTON, RICKEY DALE
WASHINGTON, TELLYS ARKEITH
CLEMMONS, MAURICE LAMONT
HARRIS, JORDAN ADAM JONES,
EDDIE JEROME GILLIAM, WILLIE A.
TINSLEY, DEKEITRIC LARON WILLIAMS,
HENRY ARECE AKINS, RANDY DESHAN
JONES, KERRY LEE WOLFOLK,
CALVIN DEVAUGHN MORGAN, ARLIN GENE
CHEETER, and BERTHA LEE GRIFFIN                                                    DEFENDANTS

                                             ORDER

       Pending before the Court are motions for continuance of the trial of this matter filed by

defendants Roosevelt Lamont Martin and Ivory Lamont Johnson. Documents #25 and #180. The

Court has determined that due to the number of defendants and attorneys involved in this case the

most efficient manner of which to handle the motions for continuance will be to establish a deadline

for any defendant opposing the motions to file a response in opposition.

       The above named defendants appeared for plea and arraignment on different dates and each

was assigned an initial trial date of May 19, 2014. The Court finds that no severance has been

granted in this matter. Since the defendants are jointly indicted on similar evidence from the same

event, their trial should be conducted on the same date.
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       IT IS THEREFORE ORDERED that any defendant opposing the motions for continuance

must file a response in opposition on or before MAY 12, 2014. It will not be necessary for any

defendant who supports the motions for continuance to respond.

       The Court will assume that any defendant who does not file a response in opposition of the

motions on or before May 12, 2014, joins in the motions for continuance and waives Speedy Trial

requirements up to and including the next scheduled trial date.

               IT IS SO ORDERED this 22nd day of April, 2014.




                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
